
PARIENTE, J.
We have for review State v. Dial 730 So.2d 813 (Fla. 4th DCA 1999), which expressly and directly conflicts with the opinions in State v. Holland, 689 So.2d 1268 (Fla. 1st DCA 1997), and State v. Perry, 716 So.2d 327 (Fla. 2d DCA 1998). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const. For reasons expressed in our opinion in Hayes v. State, 750 So.2d 1 (Fla.1999), the decision of the Fourth District is hereby quashed. We remand to the district court for proceedings consistent with this opinion. It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, LEWIS and QUINCE, JJ., concur.
